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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

          plaintiffs,
  v.                                                                      Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                                 JOINT DISCOVERY MEMORANDUM1

          With the exception of the second point raised by Defendant,2 the parties certify they have

  complied with the requirements for pre-hearing consultation contained in the Court’s Standing

  Discovery Order, ECF No. [102], 9. The following issues require resolution by the Court:

  1.      Defendant’s Submission

          A.        Dr. Wright Requests that the Court Resolve Two Key Discovery Disputes

          Defendant: Dr. Wright requests that the Court resolve two discovery disputes, each of

  which stem from a single issue—the discovery of Dave Kleiman’s documents and devices.

  Those issues are as follows: (1) plaintiffs have not produced a single document from Dave

  Kleiman; and (2) plaintiffs are attempting to block the depositions of two non-parties who likely

  have information regarding a central, yet unanswered, question: what happened to Dave’s

  devices after his death.




  1
   The Court has scheduled the discovery hearing to take place on March 26, 2019, at 2:30 p.m.
  2
   To be clear, Dr. Wright disagrees with this statement regarding his second point, which involves his attempts to
  schedule non-party depositions. See Ex. B.
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             First, despite the importance of Dave’s documents and devices to this action, and the

  seriousness of the nature of plaintiffs’ claims, there is no excuse—particularly at this stage—for

  plaintiffs’ failure to produce any of Dave’s documents. Plaintiffs have not provided any

  explanation for withholding these critical documents. Instead, they refer to their initial

  production of “1,000 documents” from Ira Kleiman, not Dave.3 That is insufficient—Dr. Wright

  is entitled to defend himself against plaintiffs’ unsubstantiated claims for civil theft, starting

  now.

             Separately, plaintiffs have not told us what search terms they used to collect their initial

  production from Ira. This unilateral document production process has proven, as should have

  been expected, to be a wasteful exercise. The undisclosed search terms generated batches of

  documents that were nothing more than a Facebook logo, Facebook notification, or redacted

  “thank you for your payment” emails from credit-card companies. This initial production does

  not solve the problem of a prioritized production of Dave’s documents, or otherwise mean

  plaintiffs have complied with the robust production that the Court contemplated in its previous

  order.

             Second, plaintiffs are objecting to the issuance of subpoenas to depose two non-parties—

  Dave’s former business partners, Patrick Paige and Carter Conrad. See V. Freedman email to B.

  Paschal, dated March 19, 2019, attached as Exhibit B. Plaintiffs have identified Paige and

  Conrad to have information regarding the preservation of Dave’s devices. Therefore, Paige and

  Conrad are directly relevant to this action, and plaintiffs should not be allowed to block these

  depositions.




  3
      See A. McGovern email to K. Roche, dated March 20, 2019, attached as Exhibit A.

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         Plaintiffs are objecting to these depositions because they want a full production from Dr.

  Wright before they will even schedule the depositions. See Ex. B. However, even if that were a

  basis for holding up the scheduling of these depositions, plaintiff Ira Kleiman has been engaged

  in separate litigation with Carter and Paige since November 21, 2016, and he has taken discovery

  in that case regarding Dr. Wright and Dave. Plaintiffs, therefore, have already received whatever

  documents that they need in advance of Paige and Conrad’s depositions (which, notably, they

  have yet to produce to us).

         Plaintiffs’ response to #1: As explained in more detail below, Defendant’s assertion that

  Plaintiffs haven’t turned over any of Dave Kleiman’s documents is misleading because Defendant

  just requested Plaintiffs prioritize these documents late last week. Before then, Defendant’s top

  priority was obtaining the forensic images of Dave Kleiman’s drives and producing documents

  based on “W&K” search terms. Plaintiffs are now switching gears to accommodate Defendant’s

  request and by the time of hearing expect to have already produced ~2000 of Dave Kleiman’s

  documents.

         To respond in greater detail, without the benefit of search terms Plaintiffs proactively ran

  searches and produced over 1000 documents of emails between (i) Dave and Ira, (ii) Ira and Craig,

  (iii) Ira and Ramona, (iv) Ira and Stefan Matthews, and (v) Ira and Andrew Sommer.4

  Subsequently, Plaintiffs produced another 1,355 documents that hit on “W&K” search terms the



  4
    Plaintiffs used the following search terms to produce this data: dex561@yahoo.com;
  dex561@aol.com; goldkey@gmail.com; craig.wright@information-defense.com;
  craigswright@acm.org; craig@rcjbr.org; craig.wright@demorgan.com.au;
  ramona.watts@hotwirepe.com; ut.ng@hotwirepe.com; ramona@rcjbr.org
  ramona@demorgan.com.au; stefan.matthews@demorgan.com.au; asommer@claytonutz.com;
  kleimandave@yahoo.com; davesdigitalforensics@gmail.com; dave@davekleiman.com ;
  dave@netmedic.net ; dave@isecureu.com

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  Defendant requested Plaintiffs prioritize and will shortly supplement that production with another

  few thousand documents, approximately 2000 of which are expected to be from Dave Kleiman.

         Late last week, Defendants asked Plaintiffs to prioritize documents from Dave Kleiman.

  Plaintiffs had a call with their ESI vendor and are working on reshuffling production to prioritize

  sources of ESI from Dave Kleiman. To be sure, Plaintiffs are working diligently to produce

  documents. Counsel spent over three hours conferring with Defendant about their search terms last

  week. Furthermore, in addition to ESI specialists, Plaintiffs have a team of seven attorneys who

  are engaged in the full time review of Plaintiffs documents for production. In short, Plaintiffs are

  prioritizing Dave Kleiman’s documents and doesn’t see a dispute for this Court to resolve.

         Plaintiffs’ response to #2: Plaintiffs requested Defendant speak with Plaintiffs (on the

  phone or in person) about this issue, even citing this Court’s requirement that the parties do so, but

  Defendant declined. Plaintiffs remain hopeful the parties can work this out without Court

  intervention, but includes its position below in case the Court decides to resolve it prior to then.

         The Defendant has simple requests from Mr. Page and Mr. Conrad. He wants to learn about

  Dave Kleiman’s devices. Admittedly, this doesn’t take much document production. But Plaintiffs

  need to depose these witnesses too. And Plaintiffs area of inquiry is complex and detailed. These

  witnesses spoke with the Defendant and had correspondence with him about Dave’s role in

  creating Bitcoin, mining bitcoins, and developing intellectual property. They are Dave Kleiman’s

  former best friends. In fact, the Second Amended Complaint quotes directly from some emails

  Craig sent to Mr. Page in support of its intellectual property related claims: “[Dave] did a fair

  amount of research with me. Most yet to be completed and published . . . When it all comes

  out, there is no way Dave will be left out. We need at least a year more.”lECF. No. [83], ¶¶ 151,

  153 (emphasis in original).



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         Both parties have subpoenaed these witnesses, but no response has yet been received. Both

  parties have search terms related to these witnesses, but production of documents that hit on those

  search terms has not yet occurred.

         In sum, Plaintiffs remain hopeful the parties can be reasonable about scheduling these

  witnesses for deposition at a reasonable time after relevant documents production has taken place.

  But if Defendant won’t try to schedule these with Plaintiffs offline, Plaintiffs request the Court

  instruct Defendant to wait until the relevant production has taken place.

  2.     Plaintiffs’ Submission

         A.      Defendant’s objections to Plaintiffs’ revised interrogatories 5 and 6

         Plaintiffs: Revised interrogatories No. 5 and 6 seek the identity of all persons who

  collaborated in the initial projects of the Satoshi Nakamoto partnership and who controlled the

  partnership’s email accounts. Exhibit C. The answer to this interrogatory is directly relevant to

  establishing the existence of a partnership and identifying relevant witnesses. Plaintiffs alleged

  that in c. 2008 Dave and Craig formed the Satoshi Nakamoto partnership and through it created

  Bitcoin, mined bitcoins, and developed blockchain based IP. Plaintiffs alleged this association as

  co-owners of a business for profit continued under the Satoshi Nakamoto name until at least 2011

  when W&K was formed, so that when Craig took sole possession of the partnership’s bitcoins and

  intellectual property he, inter alia, breached his duties of loyalty and care to the partnership. ECF

  No. [83], ¶ 197. At trial, Plaintiffs have the burden of proof to demonstrate that Craig and Dave’s

  formation of the Satoshi Nakamoto partnership was the association of co-owners of a business for

  profit. If the answer to this interrogatory is “Dave and Craig were the sole participants,” it helps

  Plaintiffs’ case. If it includes other individuals, they are relevant witnesses, and Plaintiffs must be

  aware of their existence to prepare for trial. Defendant’s objection, that the identity of who



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  participated in the partnership is “not relevant to plaintiffs’ claims,” when one of Plaintiffs’ claims

  is for breach of the duties of loyalty and care owed to the Satoshi Nakamoto partnership, is patently

  frivolous.

           Defendant: Plaintiffs’ Revised Interrogatories 5 and 6 continue to seek irrelevant and

  highly sensitive information. Who had access to certain email accounts that were associated with

  a pseudonym provides no information whatsoever as to whether or not Dave Kleiman and Dr.

  Wright were partners in a “business for profit.” Similarly, who assisted in draft a paper that was

  published in 2008 and who worked on writing the software/computer code that constitute

  intellectual property that was made public in 2009 has nothing to do with whether or not Dave and

  Dr. Wright were partners, even less to do with any allegation that Dr. Wright stole anything since

  those materials were made public long before Dave died and Dave never made any such allegation.

  B.       Defendant’s claim that there are no email addresses with potentially relevant ESI

           Plaintiffs: Pursuant to the parties ESI agreement Dr. Wright has disclosed there are no

  email addresses relevant to this case. To date, however, Plaintiffs have compiled a list of 18 email

  addresses for Dr. Wright they believe are relevant to the case.5 Furthermore, based on production

  to date, it appears that Craig and Dave corresponded heavily through Bitmessage, an encrypted

  communications protocol,6 but Defendant has failed to identify these accounts as well. See e.g.




  5
   craig@rcjbr.org; craig.wright@demorgan.com.au; craig.wright@hotwirepe.com;
  craig.wright@Information-defense.com; craig.wright@gicsr.org; overlyqualified@gmail.com;
  craig@panopticrypt.com; craig.wright@itmasters.edu.au; mad.men@hushmail.com;
  Craig.Wright@bdo.com.au; cwright@bdosyd.com.au; craigsw@ozemail.com.au;
  craig.wrigh@asx.com.au; wright_c@demorgan.com.au; doshai@pip.com.au;
  craigswright@acm.org; tuliptrading@hushmail.com; craigw@dg.ce.com.au.
  6
      https://en.wikipedia.org/wiki/Bitmessage
                                                    6
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  Exhibit D.7 Plaintiffs seek an order directing Defendant to fully disclose all email accounts,

  Bitmessage accounts, and to conduct a full collection of them all.

         Defendant: Dr. Wright disclosed, as agreed all sources of potentially relevant ESI. Dr.

  Wright does not maintain as long as the relevant of time. We have collected numerous .pst files

  from the over 31 electronic devices we have collected from Dr. Wright. Those .pst files contain

  potentially relevant emails, and Dr. Wright disclosed those facts to plaintiffs. Moreover, as is clear

  from the productions thus far, Dr. Wright prints out or .pdfs certain emails, and those have been

  produced and will continue to be produced.

  C.     Defendant’s refusal to collect documents from his Australian attorneys

         Plaintiffs: At the last hearing, the Court ordered Defendant to obtain all documents within

  his possession, custody, or control unless he moves not to on burden grounds. Plaintiffs requested

  the Defendant collect documents from his Australian attorneys because the Defendant swore “I

  have no documents in my possession from any ATO investigation. To the extent that my

  attorneys have any documents from any ATO investigation related to me, those documents would

  be located in Australia.” ECF No. [33-3] at 3-4 (emphasis added). In an email to counsel, however,

  Ms. McGovern has now stated that “documents that would be produced by attorneys would be

  duplicative.” Exhibit E (highlight added). This is in complete conflict with his sworn statement

  above. Plaintiffs seek an order directing Dr. Wright to collect documents from his Australian

  attorneys.

         Defendant: It is clear from the productions thus far that Dr. Wright was mistaken in his

  statement in the affidavit. Indeed, we have produced responsive and relevant documents from




  7
    Defendant has marked Exhibit D (DEF_00000049-68) “confidential.” To facilitate expeditious
  resolution, Plaintiffs will bring it to the hearing for the Court’s review instead of filing it.
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  various ATO investigations. Defendant’s counsel made clear that documents relating to the ATO

  proceedings were produced. Ms. Markoe personally went to Dr. Wright’s home and reviewed

  binders of materials from the ATO investigations that were hardcopies of materials provided to

  counsel, and often had counsel’s names on the binders. Further, Ms. Markoe has reviewed a

  sampling of the privileged ESI that contain email addresses from Dave Kleiman and that ESI

  consisted of communications to Dr. Wright’s counsel and Dr. Wright’s companies’ counsel

  providing them with documents related to various ATO investigations.

  D.     Defendant’s failure to cooperate in the coordination of ESI

        Plaintiffs: The Court ordered Defendant to:

        be transparent about what you’ve got, where it is, what it is, the categories you have.
        Because the more transparent you can be, then it is going to help Mr. Freedman and
        his team target in on what they want to prioritize . . . This is a historical case. The facts
        are what they are. The faster you all come to that realization and work it out and get
        the information exchanged, then you can really focus on the things that are important
        in this case. So I order the parties to do all of that.

  2/20/19 Hr. Tr. at 37:3-7, 39:5-8. Plaintiffs have tried to work with Defendant to understand the

  scope of discovery, and narrow requests into high yield areas, but Defendant has refused to provide

  certain highly relevant information in advance of Mr. Wright’s deposition on April 4. Plaintiffs

  ask the Court to order Defendant: (1) to provide the names of the 30 trusts and companies he claims

  involved him, but not Dave Kleiman; and (2) to provide a list of Australian companies, attorneys,

  accountants, and employees he’s collected ESI from. Both these lists will help focus Defendant’s

  deposition (and all discovery) into more high-yield areas of inquiry. Plaintiffs believe these

  requests are reasonable and consistent with this Court’s directives, but Defendant has refused to

  provide them.

         Defendant: The compilation of the names of the 30 trusts and companies we discussed

  with the Court at the March 6th hearing is work product. To date, Dr. Wright has produced over

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  22,000 pages of documents to plaintiffs consisting of over 5,000 documents (less than 1,000 of

  which are hard copies). Many of those documents provide the information plaintiffs seek. Dr.

  Wright is under no obligation to create documents that do not otherwise exist but can be gleaned

  from a review of produced materials.

  E.     Disputed search terms

         Plaintiffs: have listed the search terms it requests, but Defendant objects to, and their hits,

  in Exhibit F. Plaintiffs believe these search terms are patently relevant and narrowly tailored.

  Plaintiffs are prepared to discuss them if the Court has any questions.

         Defendant: As can be seen from the hit count report attached as Exhibit G, these search

  terms are not narrowly tailored, and some of them are simply not relevant based on this Court’s

  previous rulings.

  F.     Outstanding RFPs

         At the last discovery hearing, the Court deferred ruling on Plaintiffs’ Second Set of RFPs

  No. 16, 18-27, 36-37, 40-41, 45, and 88. These RFPs have been briefed by the parties in ECF No.

  [114], at 4-7. Defendant: With regard to RFPs 36-37, 40-41, 45, plaintiffs provided usable search

  terms after 11 p.m. on March 19. Dr. Wright provided hit counts on those searches on March 20.

  See Exhibit H.


  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I certify that on March 24, 2019, I electronically filed this document with the Clerk of the
   Court using CM/ECF. I also certify that this document is being served today on all counsel of
   record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
   Mail.


                                                                /s/ Velvel (Devin) Freedman
                                                                Velvel (Devin) Freedman




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